                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

In re:                                          )
                                                )
ALISON PINKERTON GAMBLE,                        )              Case No. 18-82298-CRJ7
                                                )              Chapter 7
         Debtor.                                )


ALISON PINKERTON GAMBLE,                        )
                                                )
         Plaintiff,                             )
                                                )
v.                                              )              AP Case No. 18-80098-CRJ
                                                )
STATE OF ALABAMA, DEPARMENT                     )
OF REVENUE,                                     )
                                                )
         Defendant.                             )

                                              ANSWER

         COMES NOW the Defendant, State of Alabama Department of Revenue (hereinafter, “the

State”), by and through its undersigned counsel, and answers the Complaint in the above-styled

adversary proceeding as follows:

         1.      Admit.

         2.      Admit.

         3.      Admit.

         4.      Admit.

         5.      The State admits that the Debtor is indebted to the State for certain taxes, interest,

and penalties incurred prior to the filing of the underlying Chapter 7 bankruptcy case. The State




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lacks sufficient information and knowledge to admit or deny the remaining allegations in this

paragraph and, therefore, denies the same.

       6.      The State lacks sufficient information and knowledge to admit or deny the

allegations in this paragraph and, therefore, denies the same.

       7.      No response is required of the State to the allegations contained in this paragraph.

       8.      No response is required of the State to the allegations contained in this paragraph.

       9.      No response is required of the State to the allegations contained in this paragraph.

       10.     The State lacks sufficient information and knowledge to admit or deny the

allegations in this paragraph and, therefore, denies the same.

       As to the relief requested in the WHEREFORE paragraph, the State denies that the Debtor

is entitled to the relief requested as to her Alabama income tax debt, including applicable interest

and penalties, for the 2006 through 2011 tax years. The State lacks sufficient information and

knowledge to admit or deny whether the Debtor is entitled to the remaining relief requested and,

therefore, denies the Debtor’s entitlement to the same.

       RESPECTFULLY SUBMITTED on this 2nd day of November, 2018.

                                              /s/ Sarah Elizabeth Bell
                                              Sarah Elizabeth Bell
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document has been served upon all parties of

record in this cause via CM/ECF or, if not a CM/ECF participant, by placing a copy of the same

in the United States mail postage prepaid, on this 2nd day of November, 2018, as follows:

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                                            /s/ Sarah Elizabeth Bell
                                            OF COUNSEL




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